                                                              Case 6:19-bk-07390-LVV                        Doc 10 Filed 01/10/20
                                                                                                             FORM 1
                                                                                                                                                        Page 1 of 2
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                            Page:        1
                                                                                               ASSET CASES
Case No:               19-07390      CCJ    Judge: CYNTHIA C. JACKSON                                                                           Trustee Name:                     EMERSON C. NOBLE, TRUSTEE
Case Name:             HANDS OF MERCY MASSAGE PLLC                                                                                             Date Filed (f) or Converted (c):   11/11/19 (f)
                                                                                                                                               341(a) Meeting Date:               12/18/19
For Period Ending: 12/31/19         (1st reporting period for this case)                                                                       Claims Bar Date:                   02/28/20



                                        1                                                   2                            3                          4                         5                                   6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                                 Asset Description                                   Unscheduled            Less Liens, Exemptions,             Abandoned                Received by               Gross Value of Remaining Assets
                     (Scheduled and Unscheduled (u) Property)                          Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 1. OFFICE FURNITURE AND EQUIPMENT                                                           1,800.00                          2,000.00                                            2,000.00                     FA

                                                                                                                                                                                                 Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                         $1,800.00                          $2,000.00                                           $2,000.00                            $0.00
                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   11/26/19 - Filed Notice of Sale of office furniture and equipment (Doc # 5). Landlord offered $2k to buy out existing
   assets on site.


   Initial Projected Date of Final Report (TFR): 03/30/20            Current Projected Date of Final Report (TFR): 03/30/20




LFORM1                                                                                                                                                                                                                         Ver: 22.02b
                                                    Case 6:19-bk-07390-LVV                Doc 10           Filed 01/10/20         Page 2 of 2
                                                                                              FORM 2                                                                                                    Page:      1
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           19-07390 -CCJ                                                                                         Trustee Name:                       EMERSON C. NOBLE, TRUSTEE
  Case Name:         HANDS OF MERCY MASSAGE PLLC                                                                           Bank Name:                          Axos Bank
                                                                                                                           Account Number / CD #:              *******1089 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******1656
  For Period Ending: 12/31/19                                                                                              Blanket Bond (per case limit):      $     300,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                          3                                                  4                                                 5                          6                         7
    Transaction      Check or                                                                                                     Uniform                                                               Account / CD
       Date          Reference            Paid To / Received From                         Description Of Transaction             Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
                                                                             BALANCE FORWARD                                                                                                                           0.00
          12/02/19      1        ROBERT W LADLEY                             FIXTURES AND EQUIPMENT                              1129-000                    2,000.00                                             2,000.00
                                 37918 N CR 44A                              Pursuant to Notice of Sale (Docekt # 5)
                                 EUSTIS, FL 32736

                                                                                                       COLUMN TOTALS                                         2,000.00                       0.00                   2,000.00
                                                                                                           Less: Bank Transfers/CD's                             0.00                       0.00
                                                                                                       Subtotal                                              2,000.00                       0.00
                                                                                                           Less: Payments to Debtors                                                        0.00
                                                                                                       Net
                                                                                                                                                             2,000.00                       0.00
                                                                                                                                                                               NET                             ACCOUNT
                                                                                                       TOTAL - ALL ACCOUNTS                      NET DEPOSITS             DISBURSEMENTS                        BALANCE
                                                                                     Checking Account (Non-Interest Earn - ********1089                     2,000.00                          0.00                 2,000.00
                                                                                                                                               ------------------------    ------------------------   ------------------------
                                                                                                                                                            2,000.00                          0.00                 2,000.00
                                                                                                                                               ==============             ==============              ==============
                                                                                                                                                (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                           Transfers)               To Debtors)                    On Hand




                                                                                                                           Page Subtotals                    2,000.00                        0.00
                                                                                                                                                                                                                  Ver: 22.02b
LFORM24
